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                     EXHIBIT 6
                      (Filed Under Seal)
                        Case 1:15-cv-07433-LAP Document 1328-42 Filed 01/05/24 Page 2 of 5

                                                                  Page 1                                                      Page 3
                         UNITED STATES DISTRICT COURT                       1   On behalf of the Defendant:
                          SOUTHERN DISTRICT OF FLORIDA
                        CASE No.08-CV-80 11 9-CIV-MARRA/JOHNSON
                                                                            2     ROBERT J. CRITTON, ESQUIRE
                                                                                  BURMAN, CRITTON & LUTTIER
                 JANE DOE NO. 2,                                            3     515 North Flagler Drive, Suite 400
                        Plaintiff,                                                West Palm Beach, Florida 33401
                 -vs-                                                       4     Phone: 561.842 .2820
                 JEFFREY EPSTEIN,
                                                                                  rcrit@bclclaw.com
                                                                            5     mpike@bclclaw.com
                        Defendant.                                          6
                                                                            7
                 Related cases:
                 08-80232, 08-80380, 98-80381, 08-80994,                    8
                 08-80993, 08-8081 I, 08-80893, 09-80469,                   9
                 09-8059 1, 09-80656, 09-80802, 09-81092
                                                                           10
                                                                           11
                        VIDEOTAPED DEPOSITION OF WAN ALESS I               12
                              VOLUME !
                                                                           13
                           Tuesday, September 8, 2009                      14
                            10:12 a.m. - 3:45 p.m.                         15
                                                                           16
                         2 139 Palm Beach Lakes Boulevard                  17
                          West Palm Beach, Florida 3340 1                  18
                                                                           19
                                                                           20
                 Reported By:                                              21
                 Sandra W. Townsend, FPR
                 Notary Public, State of Florida                           22
                 PROSE COURT REPORTING AGENCY                              23
                 West Palm Beach Office
                                                                           24
                                                                           25
                                                                  Page 2                                                      Page 4
           1
           2
                 APPEARANCES:
                 On behalf of the Plaintiffs:
                                                                            1               - --
           3       RICHARD WILLITS, ESQUIRE                                 2              EXHIBITS
           4
                   RICHARD H. WILLITS, P.A.
                   2290 I 0th Avenue North, Suite 404
                                                                            3                 - --
                   Lake Worth, Florida 33461                                4
           5       Phone: 56 1.582.7600
                   reelrhw@hotmail.com
                                                                                NUMBER               DESCRIPTION                PAGE
           6                                                                5
           7       STUART MERMELSTEIN, ESQUIRE
                   MERMELSTEIN & HOROWITZ, P.A.
                                                                            6   Exhibit number 1     Photographs            45
           8       18205 Biscayne Boulevard, Suite 2218                     7   Exhibit number 2     Transcript           130
                   Miami, Flo1ida 33 160
           9       Phone: 305.93 1.2200                                     8   Exhibit number 3     Incident Report        137
                   ssm@sexabuseatto1ney.com                                 9   Exhibit number 4     Incorporation Papers     149
          10       ahorowitz@sexabuseattomey.com
          11       WILLIAM J. BERGER, ESQUIRE                              10   Exhibit number 5     Incorporation Papers     150
                   ROTHSTEIN ROSENFELDT ADLER                              11
          12       40 1 East Las Olas Boulevard, Suite 1650
                   Fo,t Lauderdale, Florida 3330 1                         12
          13       Phone: 954.522.3456                                     13
                   bedwa.rds@rra-law.com
          14                                                               14
          15       KATHERINE W. EZELL, ESQUIRE                             15
                   PODHURST ORS ECK, P.A.
          16       25 West Flagler Street, Suite 800                       16
                   Miami, Flo1ida 33 I30                                   17
          17       Phone: 305.358.2800
                   1josefsberg@podhurst.com                                18
          18       kezell@podhurst.com                                     19
          19       ADAM J. LANGINO, ESQUIRE
                   LEOPOLD KUVIN                                           20
          20       2925 PGA Boulevard, Suite 200
                   Palm Beach Gardens, Florida 334 10
                                                                           21
          21       Phone: 561.5 15.1400                                    22
                   skuvin@leopoldkuvin.com
          22                                                               23
          23                                                               24
          24
          25                                                               25

                                                                                                         1     (Pages 1 to 4)

                (561) 832-7500                     PROSE COURT REPORTING AGENCY, INC.                        (561) 832-7506

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Electronically signed by Sandra Townsend (401-377-676-2895)                                                  76ef564a-4a1c-4dee-87ac-479898cc;


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                                                                Page 45                                                         Page 47
             1              MS. EZELL: I'm going to ask -- I don't know        1           THE WITNESS: Could have been. But, you know
            2          whether you've still been serially designating          2       I am not -- I don't think I am a very good judge of
            3           Exhibits or whether we're doing them separately for    3       ages. If you ask me how old you are, I really
            4          deposition.                                             4       couldn't tell you.
            5               MR. CRITTON: I think we cannot trust that          5           MR. CRITTON: Kathy thinks she's 25.
            6          people will do them serially. I'd do them with          6           MS. EZELL: In my dreams.
            7          each one.                                               7           THE WITNESS: Now, again, I must tell you, I
            8               MS. EZELL: Then would you mark this, please,       8       was never told to check any i.d.s on any of the
            9          as Exhibit 1 to this deposition.                        9       people who work at the house.
           10               And I'm just going to state on the record that    1O   BY MS. EZELL:
           11           I will keep that original. We will not attach it      11       Q. I understand that. And, so, I think I'm just
           12           to the deposition.                                    12   trying to establish that you didn't consider it part of
           13               (Exhibit number 1 was marked for                  13   your job description to worry about or consider the
           14       identification purposes and retained by Counsel for the   14   ages --
           15       Plaintiffs.)                                              15       A. No.
           16               THE WITNESS: Yes, that's --                       16       Q. -- of the young women that came there?
           17       BY MS. EZELL:                                             17       A. Absolutely not. Absolutely not.
           18          Q. Cm1 you identify that -- the young woman in         18       Q. And, so, you never really focused on that or
           19       those pictures?                                           19   particularly thought about it if they seemed young?
           20           A. Yes.                                               20           MR. CRITTON: Form.
           21          Q. Who is it?                                          21           THE WITNESS: I don't-- I didn't see that
           22           A. That's V. -- V. Now that you says R., that         22       many young girls, you know, young, underage girls
           23       is V.R. definite, a hundred percent.                      23       at the house. I never saw except the two girls
           24               MR. CRITTON: Let me just note my objection,       24       that I mentioned that I think it was underage was
           25          as I did in A. Rod's deposition or Mr. Rodriguez's     25       N. for sure because she was still in high school.
                                                                Page 46                                                         Page 48
            1          deposition, that I know you're going to confiscate      1      And she -- she had dinner with her mother, a couple
            2          Exhibit number 1. I think it's inappropriate. I         2      times with her mother. And she become an actress.
            3          think I should be allowed to have a copy of             3      She's an actress and she has done movies. And he
            4          Exhibits that are being used in deposition. But         4      help her in her career.
            5          I'll file a motion with the Court so we don't get       5          That's the only girl that I knew she was young
             6         into a pulling match over your Exhibits.                6      because she was going to high school and I pick her
            7               MR. BERGER: I would ask that the court             7      up from high school sometimes. But she was not a
            8          repo1ter initial that.                                  8      massage therapist. She will go for dinner. And
            9               MS. EZELL: Sure.                                   9      they will go for the movies and she sang sometimes
           10               Oh, you did?                                      10      because she was a singer. So she sw1g at the
           11               MR. WILLITS: She marked it.                       11      house. Beautiful girl . Very talented.
           12               MR. BERGER: Did she put her initials or did       12          That's the only girl that I know that it
           13          she just put a number or a letter?                     13      was -- I would says, underage.
           14               MR. CRITTON: She's nodding that she did           14   BY MS . EZELL:
           15          everything that she usually does, which mem1s,         15      Q. Okay. Did -- who told you that V.R. was a
           16          initials, date m1d number.                             16   massage therapist?
           17               MR. MERMELSTEIN: You cm1 talk.                    17      A. Nobody.
           18               MR. WILLITS: But when you talk, use your          18      Q. Did you assume that she was a massage
           19          initials.                                              19   therapist because you were told she was coming to give
           20       BY MS. EZELL:                                             20   massage?
           21          Q. How old did you think V.R. was at the time she      21      A. No. I assumed she was a massage therapy
           22       begm1 coming to Mr. Epstein's home?                       22   because I was -- I drove Ms. Maxwell to Mar-a-Iago,
           23          A. She could have been 17, 18, 19.                     23   Donald Trump's residence. And I wait in the car while
           24          Q. Could she have also been 15?                        24   Ms. Maxwell got a -- I think it was a facial or massage.
           25               MR. CRITTON: Form.                                25   I don't know. But that day I remember this girl, V.,

                                                                                                       12 (Pages 45 to 48)
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                                                                Page 69                                                        Page 71
            1               MR. CRITTON: Form.                                 1   Diane's secretary, she stay there for a week with her
            2               THE WITNESS: No, not that I can remember.          2   kids and we took care of her.
             3      BY MS. EZELL:                                              3          Who else? Mr. Trump. That's a celebrity.
             4          Q. Do you know ifhe and Mr. Epstein were               4   Mr. Robert Kem1edy, Junior. Mr. Frederick Fekkai.
             5      involved in any businesses together?                       5      Q. Who is that?
             6          A. Mr. Epstein, I never knew what businesses he        6      A. Fekkai, Frederick Fekkai, the famous
             7      was involved. He will -- I was completely shut off of      7   hairstylist. Who else? I don't think I can remember
             8      all of the business, except for the office, transfer of    8   anymore.
             9      communications or faxes. But I have no idea of the         9      Q. David Copperfield, the magician?
           10       relationship with other business partners.                1O      A. No, I never saw him.
           11           Q. Did you ever have to deal with his -- the          11      Q. You never saw him.
           12       office in New York with someone named Lesley in Nev       12          Now, would these -- the people that you named
           13       York?                                                     13   were all people that you saw visiting in the home?
           14           A. The secretary?                                     14      A. Yes. Also was a Noble Prize winners, the -- I
           15           Q. Yes.                                               15   can't remember his name. It was an old gentleman. He
           16           A. Yeah. I would call -- I would call Lesley          16   was a Noble Prize, chemistry, I think, or mathematics.
           17       almost every day or other secretaries, they live in New   17   There was a couple -- a couple of those, very -- also,
           18       York. Basically it came a point when Mr. Epstein will     18   we had at one time at the house, it was a reunion of
           19       call New York and New York call me to do things for       19   very Noble Prize winners. But I don't know. They're
           20       Mr. Epstein. But he was on the phone or busy or           2O   not famous, I guess. I can't remember their names.
           21       something and he would call the office and the office     21   Very important people.
           22       will send me an e-mail or call me or -- it was a          22      Q. Was that a dim1er or a reception?
           23       constant report with the office in New York.              23      A. I think it was a lllllch.
           24           Q. And did you in turn sometimes call New York t,     24      Q. A lunch.
           25       get a message to Mr. Epstein?                             25          President Clinton, did you ever --
                                                                Page 70                                                        Page 72
             1          A. Yes.                                                1       A. I met President Clinton on Mr. Epstein's plane
             2          Q. Did you ever overhear Mr. Epstein talking to        2   in the last, I think it was the last month or just
             3      any people that you would consider celebrities?            3   before I left -- I left, I met President Clinton in
             4          A. Yes. I knew some -- many celebrities.               4   Miami at his plane. We drove him to Miami.
             5          Q. Who -- what celebrities did you understand          5       Q. And do you know, was that a trip -- were they
             6      that he spoke with?                                        6   going on a trip to Africa?
             7          A. He spoke to it?                                     7       A. I hear about it, but it was not when I was
             8          Q. Yes.                                                8   there.
             9          A. I don't know who he spoke to because I never        9       Q. So that was not the time that you drove --
           10       listen to his conversations. But I saw guests at the      10       A. No, I was already out.
           11       house that were celebrities.                              11       Q. And Kevin Spacey, did you ever meet him?
           12           Q. Who did you see at house?                          12       A. No. I hear about it on the news, but I never
           13           A. Many. !twas               !twas-                   13   met him.
           14                                    It was Prince Andrew. It     14       Q. Were Prince Andrew and Princess Sarah friends
           15       was Princess Sarah.                                       15   of Ms. Maxwell?
           16           Q. Princess?                                          16       A. Both of them.
           17           A. Sarah, the wife of Andrew.                         17       Q. Both Ms. Maxwell and Mr. Epstein?
           18           Q. SarahFerguson?                                     18       A. Yeah.
           19           A. Ferguson.                                          19       Q. Did -- did they ever have massages when they
           20              And it was a couple Misses, Misses Yugoslavia,     20   were there?
           21       Miss Germany that I don't even know the names. But the)   21       A. Prince Andrew did. I think Sarah was there
           22       were a lot of queens and other famous people that I       22   only once and for a short time. I don't think she slept
           23       can't remember. It was a very famous lawyers that I'm     23   in there. I cannot remember. I think she was visiting
           24       sure you know, Alan Dershowitz, who spend at tl1e house   24   Wellington and she came to the house and we met her.
           25       couple times. And he slept tl1ere. He -- Princess         25   But Prince Andrew, yes, Prince Andrew spent weeks witr

                                                                                                      18 (Pages 69 to 72)
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                                                              Page 73                                                        Page 75
             1      us.                                                      1          MR. LANGINO: Go ahead. Sure.
            2           Q. Where would he sleep?                             2   BY MS. EZELL:
            3           A. In the main room, the main guest bedroom.         3      Q. You said that you set up the massage tables.
            4       That was the blue room.                                  4   And would you also set up the oils and the towels?
            5           Q. And, so, when he would come and stay, during      5      A. Yes, ma'am.
            6       that time would he frequently have massages?             6      Q. And I think I read one time you said they used
            7              MR. CRITTON: Form.                                7   40 or 50 towels a day?
            8              THE WITNESS: I would says, daily massages.        8          MR. CRITTON: Fom1.
            9           They have a daily massage.                           9          THE WITNESS: That's correct. There was a
           10       BY MS. EZELL:                                           10      tremendous amount of work in the house, especially
           11           Q. Was it sometimes more than one a day?            11      laundry towels, because they were -- we have
           12           A. I can't remember ifhe had more than one, but     12      towels, piles of towels. And they use in the pool.
           13       I think it was just a massage for him. We set up the    13      There was a lot of people in the pool and there
           14       tables and --                                           14      were a towel that went in the floor, we have to go
           15           Q. Do you have any recollection ofV.R. coming to    15      and pick it up, wash it. So it was -- it was a lot
           16       the house when Prince Andrew was there?                 16      of towels, yes.
           17           A. It could have been, but I'm not sure.            17   BY MS. EZELL:
           18           Q. Not sure. When Mr. Dershowitz was                18      Q. And did you ever have occasion to go upstairs
           19       visiting, --                                            19   and clean up after the massages?
           20           A. Uh-huh.                                          20      A. Yeah, uh-huh.
           21           Q. -- how often did he come?                        21      Q. Did you ever find any vibrators in that area?
           22           A. He came pretty -- pretty often. I would says,    22      A. Yes. I told him, yes.
           23       at least four or five times a year.                     23          MS. EZELL: And did you ask that? I'm son-y.
           24           Q. And how long would he stay typically?            24          MR. CRITTON: Yes.
           25           A. Two, three days.                                 25          MS. EZELL: I don't know how I missed that.
                                                              Page 74                                                        Page 76
            1          Q. Did he have massages sometimes when he was         1   BY MS. EZELL:
            2       there?                                                   2       Q. Since I did miss it, if you don't mind, let me
            3          A. Yes. A massage was like a treat for                3   just ask you again.
            4       everybody. If they want it, we call the massage and      4          Would you describe for me what kinds of
            5       they have a massage.                                     5   vibrators you found?
            6          Q. Now, Mr. Trump had a home in Palm Beach,           6      A I'm not familiar -- not too familiar with the
            7       correct?                                                 7   names, but they were big dildos, what they call the big
            8          A. Uh-huh.                                            8   rubber things like that (indicating). And I used to go
            9          Q. So he didn't come and stay there, did he?          9   and put my gloves on and pick them up, put them in tht
           10          A. No, never.                                        1O   sink, rinse it off and put it in Ms. Maxwell --
           11          Q. He would come for a meal?                         11   Ms. Maxwell had in her closet, she had, like, a laundry
           12          A. He would come, have dinner. He never sat at       12   basket, one of those laundry basket that you put laundn
           13       the table. He eat with me in the kitchen.               13   in. She have full of those toys. And that was -- and
           14          Q. Did he ever have massages while he was there?     14   that was me being professional, leaving the room ready
           15          A. No. Because he's got his own spa.                 15   for bed when he would come back to the room again.
           16          Q. Sure.                                             16       Q. Okay .
           17              MS. EZELL: I don't have any other questions      17       A That happened a few times, few times.
           18          right now. I'd just like to reserve if something     18       Q. Were there other sex toys that you found in
           19          comes up to ask. But, otherwise, you may go ahead.   19   the area --
           20              MR. LANGINO: It is noon, so I don't know wha     2O       A. No.
           21          everybody else's schedule is. I don't know how       21       Q. -- sometimes? You mentioned she kept them in
           22          you're feeling.                                      22   a basket in her closet?
           23              THE WITNESS: I am fine.                          23       A She kept them in her basket. She had some
           24              MS. EZELL: I do have another question. May I     24   videos there and she have a costume there. I know that
           25          ask it?                                              25   she bought it, that she brought it with her.

                                                                                                    19     (Pages 73 to 76)
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